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 1
                                                                        Judge Richard A. Jones
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 7                            UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
 8
                                          AT SEATTLE
 9
10    UNITED STATES OF AMERICA,
                                                         CASE NO. CR14-0165RAJ
11                             Plaintiff
12                       v.                              ORDER OF FORFEITURE
13    THOMAS BROOKE,
14                             Defendant.
15
16          THIS MATTER having come before the Court on the government’s motion for
17 entry of an order of forfeiture and and the Court having reviewed the motion and the
18 record in the case, and being fully advised, finds,
19          On July 7, 2014, Defendant THOMAS BROOKE entered into a Plea Agreement
20 with the United States in which the Defendant entered a guilty plea to the offenses
21 charged in Counts 1 and 4 of the Indictment, Conspiracy to Distribute Controlled
22 Substances by Means of Internet, in violation of Title 21, United States Code,
23 Sections 823(f), 841(h)(1), 841(b)(1)(E), and 846; and Conspiracy to Commit Money
24 Laundering, in violation of Title 18, United States Code, Sections 1956(a)(1) and (h), and
25 further agreed to forfeit to the United States a money judgment Three-Hundred Fourteen
26 Thousand, Four Hundred Thirty-Five Dollars ($314,435.00), representing proceeds
27 obtained as a result of the offenses charged in Counts 1 and 4 of the Indictment, and
28
     ORDER OF FORFEITURE - 1                                                  UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
     U.S. v. Thomas Brooke (Case No. CR14-0165RAJ)                             SEATTLE, WASHINGTON 98101
                                                                                     (206) 553-7970
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 1          Rule 32.2(c)(1) provides that “no ancillary proceeding is required to the extent that
 2 the forfeiture consists of a money judgment,”
 3          NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND
 4 DECREED that the Defendant shall forfeit to the United States:
 5          A Money Judgment totaling Three-Hundred Fourteen Thousand, Four Hundred
            Thirty-Five Dollars ($314,435.00), representing proceeds obtained as a result of
 6
            the offenses charged in Counts 1 and 4 of the Indictment.
 7
 8 which is subject to forfeiture pursuant to Title 21, United States Code, Section 853, and
 9 Title 18, United States Code, Section 982(a)(1).
10          IT IS FURTHER ORDERED that the United States District Court shall retain
11 jurisdiction in the case for the purpose of enforcing this Order;
12          IT IS FURTHER ORDERED that pursuant to Rule 32.2(b)(4), this Order of
13 Forfeiture shall become final as to the defendant as of the time of sentencing, and shall be
14 made part of the sentence and included in the judgment;
15          IT IS FURTHER ORDERED that the United States may, at any time, move
16 pursuant to Rule 32.2(e) to amend this Order of Forfeiture to substitute property having a
17 value not to exceed $314,435.00 to satisfy the money judgment in whole or in part; and
18          The Clerk of the Court is directed to send a copy of this Order of Forfeiture to all
19 counsel of record.
20          IT IS SO ORDERED.
21          DATED this 18th day of March, 2016.
22
23                                                     A
24                                                     The Honorable Richard A. Jones
25                                                     United States District Judge

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     ORDER OF FORFEITURE - 2                                                  UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
     U.S. v. Thomas Brooke (Case No. CR14-0165RAJ)                             SEATTLE, WASHINGTON 98101
                                                                                     (206) 553-7970
